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              IN THE UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF PENNSYLVANIA

  Ryan Quarles,                          :
  Plaintiff                              :
                    v.                   :
                                         :
  Commissioner Outlaw, et al.,           :         Civil Action
  Defendants                             :         No. 21-cv-02813
                                         :
                                         :

                                     ORDER

      AND NOW, this ____________ day of __________________, Defendants’

Motions for Summary Judgment on Counts 1, 4, 9 (as in pertains to negligent

infliction of emotional distress), 10, and 11 are hereby denied. Defendant

Rozman’s Motion for Qualified Immunity is granted as to Count 4. Defendant

Ponente’s Motion for Qualified Immunity denied in its entirety.

      .



                                             By the Court:

                                             ____________________
                                                             J.
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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

     Ryan Quarles,                              :
     Plaintiff                                  :
                        v.                      :
                                                :
     Commissioner Outlaw, et. al                :          Civil Action
     Defendants                                 :          No. 21-cv-2813
                                                :
                                                :

       PLAINTIFF’S RESPONSE AND OPPOSITION TO DEFENDANTS’
                MOTIONS FOR SUMMARY JUDGMENT.

I.       INTRODUCTION.

         The Court should deny most of Defendants’ motions for summary judgment

because there exists genuine dispute of material facts pertaining to Mr. Quarles’

claims for relief. Moreover, Mr. Quarles agrees that some of Defendants’ motions

should be granted.

II.      STATEMENT OF FACTS.

         Mr. Quarles incorporates by reference his Plaintiff’s Concise Statement of

Additional Facts (Pl.’s CSAF) in support of his response to Defendants Motion for

Summary Judgment.1




1
    Philadelphia’s Police Department is abbreviated “PPD” throughout.

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III.   ARGUMENT.

       Summary judgment is proper when “the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a

matter of law.” Fed. R. Civ. P. 56(a). “A fact is material if it ‘might affect the

outcome of the suit under the governing law.’” Physicians Healthsource, Inc. v.

Cephalon, Inc., 954 F.3d 615, 618 (3d Cir. 2020) (quoting Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 248 (1986)). “A factual dispute is genuine if the

‘evidence is such that a reasonable jury could return a verdict for the nonmoving

party.’” Id. (quoting Anderson, 477 U.S. at 248).

       The moving party bears the initial burden of showing the absence of a

genuine issue of material fact. If the movant meets this obligation, the nonmoving

party must “set forth specific facts showing that there is a genuine issue for

trial.” Anderson, 477 U.S. at 250. At the summary judgment stage, the Court must

view the facts “in the light most favorable to” the nonmoving party and "draw all

reasonable inferences in favor” of that party. Young v. Martin, 801 F.3d 172, 174

n.2 (3d Cir. 2015).




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           A.     THE COURT SHOULD DENY OFFICERS
                  PONENTE AND ROZMAN’S MOTIONS FOR
                  SUMMARY JUDGMENT ON COUNTS 1 AND 4.

      1.        The facts demonstrate that Mr. Quarles was falsely arrested.

      To bring a claim for false arrest, a plaintiff must establish “(1) that there was

an arrest; and (2) that the arrest was made without probable cause.” James v. City

of Wilkes-Barre, 700 F.3d 675, 680 (3d Cir. 2012).

      Here, Officer Ponente falsely arrested Mr. Quarles for gun possession

without probable cause. First, there is no dispute that Officer Ponente arrested Mr.

Quarles only seconds after recovering the gun. Pl.’s CSAF ¶¶ 11-12. Second,

Officer Ponente arrested Mr. Quarles without probable cause when he arrested him

for unlawful gun possession only seconds after recovering the gun. Id. At the time

Officer Ponente arrested Mr. Quarles, he had no reason to believe that Quarles did

not have a license to carry. Id. Moreover, Officer Ponente admits that upon

examining Mr. Quarles’ Georgia gun permit, it appeared legitimate. Id. ¶ 20. At the

exact moment Officer Ponente arrested Mr. Quarles for carrying a firearm without

a license, he had no evidence to believe this crime was committed. Id. ¶¶ 11-12.

      Moreover, even if Mr. Quarles was not arrested until Officer Ponente still

received the teletype from Georgia law enforcement officials, Officer Ponente did

not have probable cause to arrest Mr. Quarles for carrying a firearm without a

license. To be sure, the Georgia Bureau of Investigations (GBI) informed Officer



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Ponente that: (1) Georgia law enforcement does not have access to gun permit

information; (2) Georgia’s probate court had access to gun permit information. Id.

¶ 13. When Officer Ponente spoke with a Gwinnett County Police Department

(GCPD) 911 operator—who Officer Ponente knew did not know how to verify a

gun permit, id. ¶ 15—he was informed multiple times that she did not have access

to gun permit records. Id. ¶16. In fact, the 911 operator specifically informed

Officer Ponente that if Georgia law enforcement attempted to verify a gun permit,

this search would produce nothing. Id. Thus, when the teletype came back with no

information, Officer Ponente knew that the teletype’s response of “no information”

did not mean that Mr. Quarles did not have a valid gun permit because, as he was

told on multiple occasions already, Georgia law enforcement do not have access to

gun permit records. Id. ¶¶ 13-16. Finally, there is no question that Mr. Quarles was

legally authorized to possess and carry firearms and ammunition by virtue of valid

Georgia gun permit. Id. ¶¶ 1-3, 8-9.

      The Court should deny Defendants’ motion for summary judgment on Count

1 because there exist genuine disputes about material facts.

      2.     The facts demonstrate that Mr. Quarles was maliciously prosecuted.

      To assert a cause of action for malicious prosecution under 42 U.S.C. §

1983, a plaintiff must allege the following: (1) the defendants initiated a criminal

proceeding; (2) the criminal proceeding ended in the plaintiff's favor; (3) the



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proceeding was initiated without probable cause; (4) the defendants acted

maliciously or for a purpose other than bringing the plaintiff to justice; and (5) the

plaintiff suffered deprivation of liberty consistent with the concept of seizure as a

consequence of a legal proceeding. McKenna v. City of Philadelphia, 582 F.3d

447, 461 (3d Cir. 2009).

      Here, Officer Ponente maliciously prosecuted Mr. Quarles for carrying a

firearm without a license. First, Officer Ponente initiated the criminal prosecution

by causing him to be charged and prosecuted based upon his false claim that

Georgia “denied” that Mr. Quarles had a valid gun permit. Pl.’s CSAF ¶¶ 22-23.

Second, there is no argument or dispute that the criminal proceeding ended in Mr.

Quarles’ favor.

      Third, the criminal proceeding was initiated without probable cause for the

reasons already discussed above, supra, at 2-4. Fourth, Officer Ponente acted

maliciously when he initiated Mr. Quarles’ prosecution by falsely telling Detective

Shane Rose that Georgia “denied” that Mr. Quarles had a valid permit and when he

lied to PPD’s “front desk” supervisor about the GBI informing him that Mr.

Quarles gun permit could be verified via a teletype. Id. ¶¶ 22-23, 30. Officer

Ponente additionally acted maliciously when he lied by omission in failing to

inform Detective Rose that he was repeatedly informed by Georgia law

enforcement officials that law enforcement could not verify a gun permit. Id. ¶¶ 18,



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22-23. Fifth, there is no argument or dispute that Mr. Quarles suffered a loss of

liberty resulting from being charged and prosecuted.

      The Court should deny Defendants’ motion for summary judgment on Count

4 because there exist genuine disputes about material facts.

         B.     THE COURT SHOULD DENY OFFICERS
                PONENTE AND ROZMAN’S MOTION FOR
                SUMMARY JUDGMENT ON COUNT 4.

      Mr. Quarles incorporates by reference his response listed above, supra, at 2-

5, to avoid redundancy.

         C.     OFFICERS PONENTE AND ROZMAN’S MOTION
                FOR QUALIFIED IMMUNITY SHOULD BE
                DENIED IN PART.

      The doctrine of qualified immunity shields government officials from

monetary damages unless their conduct violates clearly established constitutional

or statutory rights of which a reasonable person would have known. Pearson v.

Callahan, 555 U.S. 223, 231 (2009); Saucier v. Katz, 533 U.S. 194, 201-02 (2001).

Thus, there is a two-pronged inquiry. Saucier, 533 U.S. at 201-02. First, a court

must determine if there is evidence of a violation of a constitutional right. Id.

Second, if there is evidence of a violation of a constitutional right, the court must

determine whether the constitutional right was clearly established at the time. Id.

Qualified immunity is an objective question to be decided by the court as a matter

of law. Curley v. Klem, 499 F.3d 199, 210 (3d Cir. 2007).



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      When a defendant raises a defense of qualified immunity at summary

judgment, the plaintiff bears the initial burden of coming forward with evidence

that the conduct of defendant violated a clearly established constitutional or

statutory right. Sherwood v. Mulvihill, 113 F.3d 396, 399 (3d Cir. 1997). If the

plaintiff satisfies this burden, the defendant must then show that there is no

genuine dispute of a material fact as to the objective reasonableness of his actions

to succeed at summary judgment. Id. Anderson v. Creighton, 483 U.S. 635, 641

(1987). Immunity therefore depends on whether an officer’s actions were

objectively reasonable. Id.

      Here, Officer Ponente is not entitled qualified immunity on Mr. Quarles’

false arrest and malicious prosecution claims. First, there is ample evidence that

Officer Ponente violated Mr. Quarles’ clearly established right to be free of an

unlawful arrest without probable cause. The evidence demonstrates that when

Officer Ponente, literally seconds after finding the firearm, arrested Mr. Quarles

for carrying a firearm without a license without having any reason to believe that

this crime had been committed that offense. Pl.’s CSAF ¶¶ 1-3, 8-9, 11-12. In

Commonwealth v. Hicks, 208 A.3d 916 (Pa. 2019), Pennsylvania’s Supreme Court

held that the mere possession of a firearm in public, conceal or openly carried,

does not provide an officer with a basis to even suspect that a violation of

Pennsylvania’s Uniform Firearm Act has occurred. Id. The text of the Fourth



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Amendment expressly prohibits arrests without probable cause. U.S. Const.

amend. IV. Thus, it was clearly established law that for Officer Ponente to legally

arrest Mr. Quarles for carrying a firearm without a license, he first needed evidence

to justify a reasonable belief that Mr. Quarles carried a firearm without a license.

Id. On the facts presented in this case, Officer Ponente is not entitled to qualified

immunity because he did not have probable cause to arrest Mr. Quarles for

carrying a firearm without a license. Pl.’s CSAF ¶¶ 1-3, 8-9, 11-12, 20-21, 22-23,

26.

      Second, there is ample evidence that Officer Ponente violated Mr. Quarles’

clearly established right to be free from a prosecution supported by false materially

statements. The evidence demonstrates that Officer Ponente provided a materially

false narrative of what Georgia officials told him about the “teletype” and about

denying that Mr. Quarles had a valid LTC. Id. ¶¶ 19-24, 27 30. The law is clearly

established that Mr. Qaurles cannot be prosecuted with materially false statements.

In Halsey v. Pfeiffer, 750 F.3d 273 (3d Cir. 2014), the Third Circuit noted:

          Investigators, including appellees, should have known long
          before Halsey’s prosecution that they would be violating a
          defendant's constitutional rights if they knowingly used
          fabricated evidence to bring about his prosecution or to help
          secure his conviction, particularly if the investigators
          themselves had fabricated the evidence.




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Id. at 296. On these facts, Officer Ponente is not entitled to qualified immunity

because he caused Mr. Quarles to be criminally prosecuted without probable cause

based entirely upon false statements.

      Moreover, there was nothing objectively reasonable about Officer Ponente’s

placing Mr. Quarles under arrest for carrying a firearm without a license without

first having any evidence that he committed this offense. Pl.’s CSAF ¶¶ 11-12.

Likewise, there was nothing objectively reasonable about Officer Ponente falsely

informing Detective Rose and other officers that Georgia “denied” that Mr.

Quarles had a valid gun permit to justify the wrongful prosecution. Id. ¶¶ 19-24.

Halsey, 750 F.3d at 296.

      The Court should deny Officer Ponente’s motion for summary judgment.

However, the Court should grant the motion as it pertains to Officer Rozman on

Count 4.

           D.   THE COURT SHOULD GRANT OFFICERS
                PONENTE AND ROZMAN’S MOTION FOR
                SUMMARY JUDGMENT ON COUNT 5.

      The Court should grant Defendants’ motion for summary judgment on

Count 5 because Mr. Quarles is no longer pursuing this claim.




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         E.     THE COURT SHOULD GRANT OFFICERS
                PONENTE AND ROZMAN’S MOTION FOR
                SUMMARY JUDGMENT ON COUNTS 7 AND 8.

      The Court should grant Defendants’ motion for summary judgment on

Counts 7 and 8 because Mr. Quarles is no longer pursuing these claims.

         F.     THE COURT SHOULD GRANT OFFICERS
                PONENTE AND ROZMAN’S MOTION FOR
                SUMMARY JUDGMENT IN PART ON COUNT 9.

      The Court should grant Defendants’ motion for summary judgment partially

on Count 9 to remove Mr. Quarles’ negligent infliction of emotional distress claim.

         G.     THE COURT SHOULD DENY COMMISSIONER
                OUTLAW’S MOTION FOR SUMMARY
                JUDGMENT ON COUNT 10.

      A local government’s decision not to train certain employees about their

legal duty to avoid violating citizens’ rights may rise to the level of an official

government policy for purposes of § 1983. Connick v. Thompson, 563 U.S. 51, 61

(2011). “[A] municipality’s failure to train its employees in a relevant respect must

amount to deliberate indifference to the rights of persons with whom the [untrained

employees] come into contact. . . .” Id. at 61-62 (emphasis added; citation and

quotation marks omitted).

      The troubling facts here present the classic case of a local government’s

failure to train that 42 USC § 1983 is ideally designed to redress. Mr. Quarles can

establish that Commissioner Outlaw’s admitted failure to train her officers in the



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vital area of gun permit verification directly caused him to be wrongfully arrested

and criminally prosecuted for serious crimes without probable cause on two

separate occasions within a very short timeframe. First, the evidence demonstrates

that Commissioner Outlaw knew or should have known, to a certainty, that the

training she provides to PPD’s officers is grossly inadequate to deal with Georgia

gun permits and would result in wrongful arrests and prosecutions of lawabiding

gun owners. Second, the evidence demonstrates that Mr. Quarles was subject to a

highly predictable pattern of constitutional violations that Commissioner Outlaw

knew would occur because of her failure to train PPD’s officers how to verify

Georgia gun permits. Third, the evidence demonstrates Mr. Quarles’ wrongful

arrests and prosecutions stemming from Commissioner Outlaw’s failure to train

was highly predictable—and virtually guaranteed—to the degree that Mr. Quarles

is entitled to relief under the single-incident theory of liability.

      For the following reasons, the Court should deny Commissioner Outlaw’s

motion for summary judgment on Count 10.

      1.     Commissioner Outlaw is deliberatively indifferent as a matter of law.

           [W]hen city policymakers are on actual or constructive notice
           that a particular omission in their training program causes city
           employees to violate citizens’ constitutional rights, the city
           may be deemed deliberately indifferent if the policymakers
           choose to retain that program. The city’s policy of inaction in
           light of notice that its program will cause constitutional
           violations is the functional equivalent of a decision by the city
           itself to violate the Constitution.

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Connick v. Thompson, 131 S. Ct. 1350, 1360 (2011).

      Commissioner Outlaw, on behalf of the City of Philadelphia, is deliberately

indifferent to the obvious fact that her officers will wrongfully arrest Georgia gun

permit holders. Commissioner Outlaw knows that every gun permit holder in the

State of Georgia is legally entitled to carry firearms throughout every county in

Pennsylvania, including Philadelphia. Pl.’s CSAF ¶¶ 2, 5. The Commissioner has

been on public notice, for multiple years, that Georgia’s gun permit verification

laws are vastly different from Pennsylvania’s. Id.

      However, Commissioner Outlaw intentionally fails to provide any training

or guidance to PPD’s officers on how to verify Georgia gun permits even though it

is extremely obvious that her officers are ill-equipped to properly verify these

permits. Id. ¶¶ 5-6. Commissioner Outlaw knows that her officers are laymen

whose understanding of the law is limited to the training that she provides them.

Id. ¶¶ 6-7. Because of the existence of the Reciprocity Agreement, Commissioner

Outlaw knows that her officers will likely encounter and wrongfully arrest law

abiding Georgia gun owners because her officers do not know how to verify

Georgia gun permits. Id. ¶¶ 2, 5.

      The Court should find that Commissioner Outlaw was deliberately

indifferent to the obvious fact that her failure to train PPD’s officers how to verify

Georgia gun permits would cause constitutional violations.

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      2.     A highly predictable pattern of constitutional violations that
             Commissioner Outlaw knew would result from her failure to train.

           A pattern of similar constitutional violations by untrained
           employees is "ordinarily necessary" to demonstrate deliberate
           indifference for purposes of failure to train. Bryan Cty., 520
           U.S., at 409, 117 S.Ct. 1382. Policymakers' "continued
           adherence to an approach that they know or should know has
           failed to prevent tortious conduct by employees may establish
           the conscious disregard for the consequences of their action—
           the ‘deliberate indifference’—necessary to trigger municipal
           liability." Id., at 407, 117 S.Ct. 1382. Without notice that a
           course of training is deficient in a particular respect,
           decisionmakers can hardly be said to have deliberately chosen
           a training program that will cause violations of constitutional
           rights.

Connick v. Thompson, 131 S. Ct. 1350, 1360 (2011). Mr. Quarles case highlights

the predictable pattern of wrongful arrests and prosecutions that Commissioner

Outlaw knew or should have known would result from her intentional failure to

train her lay police force in the critical area of gun permit verification.

      On February 3, 2020, incident Officer Ponente’s bodycam shows that not

one of the numerous officers at the scene the arrest had any understanding of how

to verify a Georgia gun permit. Pl.’s CSAF ¶¶ 5-7, 21-22, 24-27. Even when

Officer Ponente called PPD’s front desk about Mr. Quarles’ Georgia gun permit,

no one was able to assist him because Commissioner Outlaw does not train her

officers, who are not attorneys or experts in Georgia firearm laws, how comply

with Georgia’s unique procedure to verify gun permits. Pl.’s CSAF ¶ 30.




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       Even the highest ranking, supervising officer at the scene, Sergeant

Shipanga, did not know how to verify Mr. Quarles’ gun permit and even asked

Officer Ponente if had ever encountered “this situation before?” Id. ¶ 25.

Moreover, Officer Ponente was able to mislead his PPD colleagues about

Georgia’s gun permit verification procedure because Commissioner Outlaw does

not train PPD officers on the proper procedure to verify a Georgia gun permit. Id.

¶¶ 22, 25-27, 30.2

       During his March 2020 encounter with Commissioner Outlaws’ untrained

officers, Mr. Quarles was arrested, again, for carrying a firearm without a license

solely because the officers did not know how to verify his valid Georgia gun

permit. Id. ¶¶ 32-33. Detective Jara decided to have Mr. Quarles charged and

prosecuted for carrying a firearm without a license because he did not know how to

verify a Georgia gun permit because Commissioner Outlaw does not provide any

training to her officers. Id.

       The Court should find that Mr. Quarles’ arrests and prosecutions constitute a

predictable pattern of constitutional violations stemming directly from




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 Additionally, in 2017 or 2018, Officer Ponente admitted to encountering a Georgia gun permit
holder on a prior occasion and following the wrong practice to verify the gun permit in that case
as well. Pl.’s CSAF ¶ 29.



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Commissioner Outlaw’s deliberate indifference to the need to train her officers

how to verify Georgia gun permits.

      3.     The egregious failure to train that caused Mr. Quarles to be
             wrongfully arrested and prosecuted twice warrants relief under the
             single-incident theory of liability.

           The Court posed the hypothetical example of a city that arms
           its police force with firearms and deploys the armed officers
           into the public to capture fleeing felons without training the
           officers in the constitutional limitation on the use of deadly
           force. Canton, supra, at 390, n. 10, 109 S.Ct. 1197. Given the
           known frequency with which police attempt to arrest fleeing
           felons and the “predictability that an officer lacking specific
           tools to handle that situation will violate citizens’ rights,” the
           Court theorized that a city's decision not to train the officers
           about constitutional limits on the use of deadly force could
           reflect the city's deliberate indifference to the “highly
           predictable consequence,” namely, violations of constitutional
           rights. Bryan Cty., supra, at 409, 117 S.Ct. 1382. The Court
           sought not to foreclose the possibility, however rare, that the
           unconstitutional consequences of failing to train could be so
           patently obvious that a city could be liable under § 1983
           without proof of a pre-existing pattern of violations.

Connick v. Thompson, 131 S. Ct. 1350, 1361 (2011).

      The failure to train here is comparable to the Supreme Court’s single

incident liability example in Canton. First, there is no dispute that verifying gun

permits is an important duty of a PPD officer. Pl.’s CSAF ¶ 36. Second, there is no

dispute that whenever a PPD officer encounters a person armed with a firearm in

public, the officer must determine whether that person is lawfully carrying the

weapon. Id. ¶ 37. Third, after stopping an armed person in public, if an officer



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cannot verify that the person has a valid gun permit, that person will automatically

be arrested and charged for carrying a firearm without a license. Id. ¶ 38. Fourth,

PPD officers are not attorneys and verify gun permits according to the training

provided by Commissioner Outlaw. Id. ¶ 39.

      Fifth, there is no dispute that the even though Georgia gun permits are valid

in the Pennsylvania, PPD’s officers have no way of verifying them because

Commissioner Outlaw does not bother to train them—in any way—how to verify

permits issued from Georgia. Id. ¶¶ 6-7. Sixth, there is no dispute that PPD’s

officers attempting to verify Georgia gun permits with the same procedure used to

verify Pennsylvania permits will automatically result in an arrest of the Georgia

permit holder. Id. ¶¶ 6-7, 33, 38-39.

      The Court should find that the fact pattern of this case warrants relief under

the single-incident theory of liability which the Supreme Court hypothesized in

Canton. Thus, the Court should deny Commissioner Outlaw’s motion for summary

judgment on Count 10.

         H.    THE COURT SHOULD DENY COMMISSIONER
               OUTLAW’S MOTION FOR SUMMARY
               JUDGMENT ON COUNT 11.

      To sustain a § 1983 claim for municipal liability a plaintiff must “simply

establish a municipal custom coupled with causation — i.e., that policymakers

were aware of similar unlawful conduct in the past, but failed to take precautions



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against future violations, and that this failure, at least in part, led to their injury.”

Beck v. City of Pittsburgh, 89 F.3d 966, 972 (3d Cir. 1996). “Custom . . . requires

a showing that the practice of state officials in question, though not authorized by

law, is so permanent and well-settled as to virtually constitute law.” McTernan v.

City of York, 564 F.3d 636, 657 (3d Cir. 2009) Custom requires proof of

knowledge and acquiescence by the decisionmaker.” Watson v. Abington

Twp., 478 F.3d 144, 154 (3d Cir. 2007).

       Here, for the reasons already set forth above—and to avoid redundancy—

Mr. Quarles incorporates by reference the material facts and argument discussed,

supra, at 10-16, because they establish that Commissioner Outlaw tolerates PPD’s

enforcement of an unlawful custom of wrongfully arresting and prosecuting lawful

Georgia gun permit holders that is directly attributable to the City of Philadelphia.

       The Court should deny Commissioner Outlaw’s motion for summary

judgment on Count 11.3

IV.    CONCLUSION.

       For the reasons set forth above, the Court should deny Defendants’ motions

for summary judgment on Counts 1, 4, 9 (as in pertains to negligent infliction of

emotional distress), 10, and 11. The Court should grant Defendant Rozman



3
 Mr. Quarles has no objection to the Court granting Commissioner Outlaw summary judgment
on Count 12 since he is no longer pursuing this claim.

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qualified immunity on Count 4 and deny Defendant Ponente qualified immunity

entirely.

                                           Respectfully submitted,

                                           ___/s/Aaron Bell_________
                                           Aaron Bell, Esquire
                                           Attorney for Mr. Ryan Quarles


March 15, 2022.




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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

  Ryan Quarles,                         :
  Plaintiff                             :
                      v.                :
                                        :
  Commissioner Outlaw, et al.,          :         Civil Action
  Defendants                            :         No. 21-cv-02813
                                        :
                                        :
                              CERTIFICATION.


      The foregoing has been served upon all parties via the Court’s ECF filing

notification system


                            /s/Aaron Bell______
                           Aaron Bell, Esquire
                           Attorney for Mr. Quarles


March 15, 2022
